UNITED STATES DISTRICT COURT FIL E; D

EASTERN DISTRICT OF NORTH CAROLINA CC} 2 3
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PETER M. WENDT, Us Dig NEL 6
Plaintiff E Disp ICT oy inERK
JUDGMENT IN A CIVIL ACTION C4Roy Na T

v. Case No. 4:02-CV-135-H4 p Ll
DARLENE LEONARD, individual, Civ Ob # b 7, /
RALPH THOMAS, JR., individually,
JOHN DOES, individually,
SEATOW SERVICES OF CARTERET
COUNTY, INC., and JARRETT BAY
BOAT WORKS, INC.,

Defendants

Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

x Decision by Court. This action came to trial or hearing before the Court. The
issues have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED the court declines to exercise jurisdiction over
this case, and orders that it be dismissed.

SO ORDERED - s/Malcolm J. Howard, United States District Judge
The above Judgment filed and entered on October 23, 2002 and copies mailed to:

Peter M. Wendt, Pro Se Claud R. Wheatly, IT Robert C. Dodge

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October 23, 2002 DAVID W. DANIEL
Date Clerk
AY L LA hte OS Lah ko
(By) Deputy Clerk

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SCANNER
